Case 6:22-cv-00885-RRS-CBW Document 24 Filed 04/21/22 Page 1 of 6 PageID #: 1724



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

   THE STATE OF ARIZONA,
   By and through its Attorney General, Mark
   Brnovich, et al.,

                                        PLAINTIFFS,

   v.                                                   CIVIL ACTION NO. 6:22-cv-00885-RRS-CBW

   CENTERS FOR DISEASE CONTROL &
   PREVENTION; et al.,

                                     DEFENDANTS.


        PLAINTIFF STATES’ MOTION FOR A TEMPORARY RESTRAINING ORDER
                AND TO COMPEL PRODUCTION OF INFORMATION

          The States of Arizona, Louisiana, Missouri, Alabama, Alaska, Arkansas, Florida, Georgia,

  Idaho, Kansas, Kentucky, Mississippi, Montana, Nebraska, Ohio, Oklahoma, South Carolina,

  Tennessee, Utah, West Virginia, and Wyoming (collectively, “Plaintiff States”), respectfully move for

  a temporary restraining order under Federal Rule of Civil Procedure 65, with expedited response

  consideration, in their favor against the named Defendants. As explained in the attached

  Memorandum, Defendants have started shifting to Title 8 removal in advance of the publicly

  announced May 23, 2022, date in the Title 42 Termination Order, which itself violated the

  Administrative Procedure Act and is the subject of this litigation. This Motion is made on the grounds

  specified herein, the Complaint and other documents on file, the accompanying Memorandum of

  Law, the St. John Declaration and the exhibits attached thereto, all matters of which this Court may

  take judicial notice, and such other argument and evidence on which the Court may properly rely.




                                                    1
Case 6:22-cv-00885-RRS-CBW Document 24 Filed 04/21/22 Page 2 of 6 PageID #: 1725



          Plaintiff States are substantially likely to prevail on the merits of their claims and temporary

  injunctive relief is necessary to maintain the status quo and avoid substantial injuries to Plaintiff States’

  sovereign, quasi-sovereign, and proprietary interests. The public interest and balance of harms favor

  an order compelling Defendants to follow the law and their own announced policies. For the

  foregoing reasons, Plaintiff States respectfully request a temporary restraining order, without bond,

  enjoining Defendants from applying the Termination Order and requiring them to comply with the

  Title 42 Order until such time as the Title 42 Order is amended or revoked in compliance with the

  Administrative Procedure Act.

          Further, to confirm information provided by Defendants, and to address potential improper

  conduct by Defendants, this Court should order DHS to report on its activities on an expedited basis

  so that the States can consider whether additional relief is appropriate to seek. To that end, the Plaintiff

  States request that this Court enter an order requiring DHS to submit a declaration under oath by

  Sunday, April 24, at 5pm CST, explaining what actions (if any) they have taken to implement the Title

  42 Termination, either formally or that de facto have similar effect, that includes specified information

  as set forth in the attached memorandum.

          Plaintiff States have conferred with counsel for Defendants and informed them of this motion.

  Defendants stated that they intend to file a response to this motion. To avoid irreparable harm,

  Plaintiff States request that Defendants be ordered to respond to this motion no later than

  noon Central Time on Friday, April 22, 2022.

          A proposed order is attached. Counsel for the State of Louisiana is available at 225-485-2458;

  counsel for the State of Arizona is similarly available at 602-542-5252.




                                                       2
Case 6:22-cv-00885-RRS-CBW Document 24 Filed 04/21/22 Page 3 of 6 PageID #: 1726



  Dated: April 21, 2022                          Respectfully submitted,

                                                By:/s/ Joseph S. St. John

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                                            3
Case 6:22-cv-00885-RRS-CBW Document 24 Filed 04/21/22 Page 4 of 6 PageID #: 1727




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                                             4
Case 6:22-cv-00885-RRS-CBW Document 24 Filed 04/21/22 Page 5 of 6 PageID #: 1728




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                                             5
Case 6:22-cv-00885-RRS-CBW Document 24 Filed 04/21/22 Page 6 of 6 PageID #: 1729




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                                                  6
